Case 1:19-md-02875-RMB-SAK       Document 3091-1     Filed 06/26/25   Page 1 of 2 PageID:
                                       117082



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


   IN RE VALSARTAN,
   LOSARTAN, AND                                           MDL No. 2875
   IRBESARTAN PRODUCTS
   LIABILITY LITIGATION                           HON. RENÉE MARIE BUMB



   THIS DOCUMENT RELATES TO:
   Gaston Roberts et al. v. Zhejiang Huahai
   Pharmaceutical Co., et al.,
   Case No. 1:20-cv-00946



       CERTIFICATION OF ADAM M. SLATER IN SUPPORT OF
  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE
     THE OPINIONS OF PLAINTIFFS’ EXPERT JOHN RUSSO, M.D.
        ADAM M. SLATER, hereby certify as follows:

        1.     I am an attorney at law within the State of New Jersey and a partner

  with the law firm of Mazie Slater Katz & Freeman, LLC, and serve as Plaintiffs’ Co-

  Lead Counsel. I am fully familiar with the facts and circumstances of these

  actions. I make this Certification in support of Plaintiffs’ opposition to Defendants’

  motion to exclude the liability opinion of John Russo, M.D.
Case 1:19-md-02875-RMB-SAK      Document 3091-1    Filed 06/26/25   Page 2 of 2 PageID:
                                      117083



        2.    Attached hereto as Exhibit 1 is a true and accurate copy of an excerpt

  of the transcript of Hai Wang’s March 10, 2021 deposition.

                                 MAZIE SLATER KATZ & FREEMAN, LLC
                                 Attorneys for Plaintiffs

                                 By:    /s/ Adam M. Slater

  Dated: June 26, 2025
